Case 2:04-cv-02707-.]PI\/|-STA Document 12 Filed 06/03/05 Page 1 of 3 Page|D 19

 

IN THE UNITED sTATEs DISTRICT coURT "‘£D BY~ ._-»_._D.a

FoR THE wEsTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 05 JUN“IS AH 6: 52

 

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CL.EHK, U.S. DfS`r`;.i CT.

ANTHONY E. RAYNOR, W D. orr TN, ME¢.,¢F»H;S

Plaintiff,
V.

No. 04~2707 Ml/An

TENNESSEE AIR NATIONAL GUARD,

~_¢h-¢v\-r~_r~_¢\.r'~¢¢v

Defendant.

 

ORDER TO SHOW CAUSE

 

Before the Court is Defendant's Motion to Dismiss, filed
April 22, 2005. Under Local Rule 7.2(3)(2) and Federsl Rule of
Civil Proeedure 6, a response to the motion was due on or before
May 26, 2005. To date, Plaintiff has not filed a response.
Aceordingly, Plaintiff is hereby ORDERED to SHOW CAUSE within ten
(lO) days of the date of entry of this Order why Defendant's
motion should not be granted.1

Failure to respond to this Order to Show Cause in a timely
manner may result in a judgment in favor of Defendants on the

motion.

 

1 To comply with this Order, Plaintiff must file a written
response to Defendent’s motion.

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This document entered on the docket shea n ém
with ama 53 and/or 19{&> FHcP on j 2

 

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So ORDERED this 52 day of June, 2005.

@m-‘(LQQ

J N P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 12 in
case 2:04-CV-02707 Was distributed by faX, mail, or direct printing on
June 9, 2005 tc the parties listed.

ESSEE

 

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Honcrable Jon McCalla
US DISTRICT COURT

